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    –Ron Motley (1944–2013)



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                                                         July 18, 2023

           BY ECF

             Hon. Jed S. Rakoff
             United States District Court, Southern District of New York
             Daniel Patrick Moynihan United States Courthouse
             500 Pearl Street
             New York, New York 10007-1312

                      Re:        Government of the U.S. Virgin Islands v. JPMorgan Chase Bank, N.A.
                                 Case No. 1:22-cv-10904-JSR (S.D.N.Y.)
                                 Motion Regarding JPMorgan’s Late and Incomplete Responses Concerning
                                 2019 Timeline of Transactional Activity

           Dear Judge Rakoff:

                   On the Wednesday, July 5, 2023 teleconference, the Court heard argument on JPMorgan’s
           responses to USVI’s discovery requests and queries concerning a “timeline” of transactional
           history that was integrated with a summary of communications between JPMorgan senior
           executives and Jeffrey Epstein that JPMorgan prepared in 2019. Despite its obvious relevance,
           JPMorgan did not disclose the existence of this communications summary until the end of fact
           discovery and did not produce the timeline until one month after the end of fact discovery. The
           parties have been working cooperatively over the past two weeks to discuss and address the
           USVI’s concerns to obviate or narrow the need for court intervention. During that time, JPMorgan
           responded to the USVI’s questions but did not produce the transactional data identified in the
           timeline until July 14th. It is now refusing to respond to the USVI’s questions regarding the
           transactional data, which reveals JPMorgan handled more than $1.1 million in payments from
           Epstein to girls or women—many with Eastern European surnames—after Epstein was terminated
           by JPMorgan, including over $320,000 in payments to numerous individuals for whom JPMorgan
           had not previously identified payments. As laid out below, this information was both directly
           responsive to the USVI’s discovery requests and relevant to its expert reports and depositions and
           JPMorgan’s purported statute of limitations defense.

                   On or about May 30, 2023, JPMorgan produced internal email correspondence dated
           October 27-28, 2019 with the subject line: “Project Jeep Current Review.” (Jeep refers to the
           Jeffrey Ep\. Epstein Project.) These emails referenced both an attached “summary of the e-comms

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review that Trade Surveillance conducted regarding Epstein and Staley” and a “timeline
combining the e-comms with the relevant transactional activity” that was created by JPMorgan
employee                       . JPMorgan did not produce the referenced timeline of Epstein and
Staley transactions with this or any other document production.

        On June 5, 2023, the USVI specifically requested the referenced “timeline” of Epstein and
Staley transactions and identified it as being obviously responsive to USVI’s discovery requests.

       When JPMorgan did not respond, USVI sent reminder emails about this matter on June 7,
June 16, June 20, and June 23, 2023. JPMorgan responded on June 24, 2023, stating that “[w]e
have located the information, but it is not easily extracted” and that “we think it will all be solvable
and we should be able to produce it this week.”

       On the afternoon of Friday, June 30, 2023, one month after the end of fact discovery,
JPMorgan produced a spreadsheet listing the dates, beneficiaries—but not senders—and dollar
values of over 9,000 transactions payable to Epstein-related persons that occurred between 2005
and 2019 and had a combined value of over $2.4 billion. Many of the entries reflected accounts
and payments, numbering in the thousands and totaling in the hundreds of millions of dollars in
value, of which USVI had no prior knowledge or information from JPMorgan’s responses and
productions during the fact discovery period.

        After considerable back and forth and a meet and confer regarding the data underlying the
timeline, on July 14, 2023, JPMorgan produced a spreadsheet with additional fields for the
transactions in the timeline spreadsheet, including fields showing the senders and dates of
payments (relevant email communication attached as Exhibit A). The data includes transactions
from multiple Epstein-related individuals, including Jes Staley, Boris Nikolic, and Leon Black,
that JPMorgan never previously disclosed. The data also reveals that JPMorgan processed more
than $1.1 million in payments from Epstein to girls or women—many with Eastern European
surnames—after Epstein was terminated by JPMorgan, including over $320,000 in payments to
Eastern European women for whom JPMorgan had not previously identified payments. This
information is directly responsive to numerous discovery requests, including Requests 13, 19, 20,
24, and 38-39 (attached collectively as Exhibit B) that seek documents concerning JPMorgan’s
knowledge that Epstein was engaged in human trafficking, JPMorgan’s monitoring of Epstein’s
accounts, retrospective analyses relating to Epstein, and financial records for Epstein-related
individuals.

        JPMorgan claims this information was not disclosed earlier because it was not in a
custodial production and/or did not relate to individuals specifically identified by the USVI as
related to Epstein. The USVI has repeatedly made clear that its discovery requests are not limited
to individuals it specifically identified as being related to Epstein. The USVI specifically identified
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the individuals it knew were related to Epstein to make its discovery requests clearer—not relieve
JPMorgan of its duty to produce known relevant documents. See, e.g., Gardner-Alfred v. Fed.
Reserve Bank of N.Y., 22-cv-01585 (LJL), 2023 WL 3495091, at *15 (S.D.N.Y. May 17, 2023)
(“the producing party, even absent agreement or discussion about the appropriate terms, still has
an independent obligation to craft search terms to fulfill the requirements of Rules 26 and 34”);
The Raine Group LLC v. Reign Capital, LLC, No. 21-CV-1898 (JPC) (KHP), 2022 WL 538336,
at *1 (S.D.N.Y. Feb. 22, 2022) (“the producing party must search custodians and locations it
identifies on its own as sources for relevant information as part of its obligations under Rules 26
and 34”). Thus, there is no legitimate reason for JPMorgan failing to identify payments to girls or
women the bank itself identified as being related to Epstein—and potential evidence of Epstein’s
sex trafficking venture—years before receiving the USVI’s discovery requests.

        It is still unclear whether JPMorgan has disclosed all payments from Epstein to girls or
women or other information relating to the review JPMorgan conducted after Epstein’s 2019
arrest. Even if it has, the USVI has not been able to question any witnesses regarding these newly
disclosed payments or provide them to experts for inclusion in their reports. When the USVI raised
these concerns, JPMorgan’s counsel said they were willing to consider a narrow data request that
fully resolves all open issues but otherwise believed we reached impasse (relevant email
communication attached as Exhibit C). The USVI does not believe, at this late date, with so many
issues left unresolved, that further negotiation amongst the parties would be productive.

       Thus, the USVI requests that the Court order the following relief:

       1.      JPMorgan must produce the following to the USVI within 5 days: (1) all documents
               and information concerning Project Jeep or any other investigation that occurred
               after Epstein’s 2019 arrest; and (2) all financial records for any newly disclosed
               girls or women to whom Epstein made payments. To the extent JPMorgan has
               already produced the relevant documents and information, JPMorgan shall provide
               a written certification to the USVI stating that fact.

       2.      JPMorgan shall stipulate that any newly produced documents described above are
               admissible as business records or provide a corporate representative to testify
               regarding the documents in a two hour deposition.

       3.      The USVI shall have 5 days following JPMorgan’s last production of relevant
               documents to supplement its expert reports.

       4.       The Court should impose monetary sanctions against JPMorgan as the Court
               deems appropriate. This is particularly appropriate given the pattern of late
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             disclosure previously noted by the Court (relevant email from Court attached as
             Exhibit D).


                                                        Respectfully submitted,

                                                        /s/ Linda Singer
                                                        Linda Singer


cc:   Counsel of record (via ECF)
